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                  EXHIBIT C
          Case 2:18-cv-10787-DPH-EAS ECF No. 51-4 filed 02/18/19                      PageID.486       Page 2 of 3

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                                                                              90102459446850001 Z 2020R-A
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                                                                                                    Z 2020R-A    CO CO
                                                                                                               021517
                                                                              HARVEY AYERS
         SENT VIA USPS FIRST CLASS MAIL                                      HARVEY  AYERS DR
                                                                              16021 EDMORE
                                                                             16021 EDMORE
                                                                              DETROIT      DR
                                                                                       MI 48205
                                                                             DETROIT MI 48205


         USPS             T_2020RL_GNA              2        APRIL H AYERS             90102459446850001



         02/15/2017       02/13/2017                          E




                                       02/25/2017




         12/11/2014                                 549.11          0.00     885.00




                                                                                                   PA NMAC 43
NMAC R2020-A 2/06/2017 NV02 R-1
NISSAN
    CaseMOTOR     ACCEPTANCE CORPORATION
           2:18-cv-10787-DPH-EAS                 DATE
                                  ECF No. 51-4 filed    OF NOTICE
                                                      02/18/19          DATE OF REPOSSESSION
                                                                   PageID.487      Page 3 of 3
P. O. Box 660366                                   02/15/2017              02/13/2017
Dallas Texas 75266-0366
800.777.6700                                     Acct. Number:       90102459446850001
                                                 Date of Contract:   12/11/2014
                                                 Year/Make/Model:    2015/NISSAN/ALTIMA
                                                 VIN:                1N4AL3AP4FC147251
SENT VIA USPS FIRST CLASS MAIL                                              THIS NOTICE IS BEING SENT TO SATISFY STATE LAW .
                                                         NOTICE:            BANKRUPTCY CUSTOMERS - PLEASE REFER TO THE
                                                                            BANKRUPTCY STATEMENT AT THE END OF THIS NOTICE.

                                           NOTICE OF OUR PLAN TO SELL
                                   REPOSSESSED OR SURRENDERED MOTOR VEHICLE
Debtor:                                                            Co-Obligor:
HARVEY AYERS                                                       APRIL H AYERS
16021 EDMORE DR                                                    16021 EDMORE DR
DETROIT MI 48205                                                   DETROIT MI 48205


Subject: Retail Installment Contract (Agreement)
We have your 2015/NISSAN/ALTIMA (the ''Motor Vehicle'') because you broke promises in our Agreement. You or any other person
liable on the Agreement may redeem (get back) the Motor Vehicle by paying us the Total Amount shown below before the Motor
Vehicle is sold or before we enter into a contract for its sale.
    Unpaid contract balance                             $27,327.35      Less: Estimated credit for canceled insurance             0.00
    Delinquency and collection charges                      549.11      Less: Unearned finance charge                             0.00
    Estimated expenses of retaking the vehicle              885.00
    Expenses of repairing the vehicle                         0.00      TOTAL AMOUNT REQUIRED TO
    Expenses of storing the vehicle at $____ per day          0.00      REDEEM THE MOTOR VEHICLE AS
    Other (Specify)                                           0.00      OF THE DATE OF THIS NOTICE                        $28,761.46
                                                                        (Plus expenses incurred and less rebates received
    SUB TOTAL                                           $28,761.46      after the date of this notice)
If you wish to get back your Motor Vehicle, contact NISSAN MOTOR ACCEPTANCE CORPORATION at the address and telephone
number shown above to learn where the Motor Vehicle is stored. If you do not want to get your Motor Vehicle back, call the insurance
company or dealer to make sure that any insurance has been canceled. If you financed an insurance premium, you may be entitled to a
refund of any unearned portion of the premium. If you do not redeem your Motor Vehicle, we will sell it as described below.
We will sell the Motor Vehicle at a private sale sometime after February 25, 2017. The money we get from the sale (after paying our
costs) will reduce the amount you owe. If we get less money than you owe, you will still owe us the difference, unless state law prohibits
our ability to collect a deficiency from you. If we get more money than you owe, you will get the extra money, unless we must pay it to
someone else.
You can get the Motor Vehicle back at any time before we sell it by paying us the full amount you owe (not just the past due payments),
including our expenses.
If you want us to explain to you in writing how we figured the amount that you owe us, you may call or write NISSAN MOTOR
ACCEPTANCE CORPORATION at the telephone number and address shown above and request a written explanation. If you need
more information about the sale, call or write NISSAN MOTOR ACCEPTANCE CORPORATION at the telephone number and address
shown above.
We are sending this notice to the following other people who have an interest in the Motor Vehicle or who owe money under your
Agreement: each Debtor and Co-Obligor named above.
UNLESS PROHIBITED BY LAW, YOU MAY BE SUBJECT TO SUIT AND LIABILITY IF THE AMOUNT OBTAINED UPON
DISPOSITION OF THE VEHICLE IS INSUFFICIENT TO PAY THE BALANCE AND ANY OTHER AMOUNTS DUE UNDER
YOUR AGREEMENT.
IMPORTANT NOTICE FOR BANKRUPT CUSTOMERS: IF YOUR OBLIGATION TO PAY ANY DEBT LISTED IN THIS
NOTICE HAS BEEN DISCHARGED IN BANKRUPTCY, OR IS PRESENTLY THE SUBJECT OF A BANKRUPTCY COURT
PROCEEDING, BANKRUPTCY COURT-APPROVED PLAN OR BANKRUPTCY COURT ORDER, WE ARE NOT, THROUGH
THIS DOCUMENT, ATTEMPTING TO COLLECT ANY AMOUNTS FROM YOU AS A PERSONAL LIABILITY, AND WILL
ONLY PURSUE ANY RIGHTS WE MAY HAVE IN THE BANKRUPTCY COURTS TO THE EXTENT ALLOWED BY LAW.
We are attempting to collect a debt and any information obtained will be used for that purpose.
NISSAN MOTOR ACCEPTANCE CORPORATION

                                                                                                          PA NMAC 44
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